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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

National Council of Nonprofits, et al.,

                              Plaintiffs,

                       v.                                 Civil Action No. 1:25-cv-239 (LLA)

Office of Management and Budget, et al.,

                              Defendants.


AMERICAN CENTER FOR LAW AND JUSTICE’S CONSENT MOTION FOR LEAVE TO
        FILE AN AMICUS BRIEF IS SUPPORT OF THE DEFENDANTS


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        The American Center for Law and Justice (“ACLJ”), by and through undersigned counsel,

respectfully moves the Court pursuant to Fed. R. Civ. P. 7 for leave to file an amicus curiae brief

in the above-captioned matter in opposition to the Plaintiffs’ Motion for a Preliminary Injunction

(ECF No. 8). The ACLJ’s proposed amicus brief is attached to this motion. Both the Plaintiffs and

the Defendants have consented to the filing of this amicus brief.

        This brief is filed in compliance with LCvR 7(o). Ordinarily, amicus briefs in federal

district courts are subject to the court’s discretion. See United States v. Gotti, 755 F. Supp. 1157,

1158 (E.D. N.Y. 1991) (“This court is not aware of any rule or statute that prescribes the procedure

for obtaining leave to file an amicus brief in the district court.”). Instead, federal district courts

possess the inherent authority to accept amicus curiae briefs that will aid the Court. In re Bayshore

Ford Truck Sales, Inc., 471 F. 3d 1233, 1249 n. 34 (11th Cir. 2006) (“District courts possess the

inherent authority to appoint ‘friends of the court’ to assist in their proceedings.”). A court has

“discretion in deciding whether to allow a non-party to participate as an amicus curiae.” Tafas v.

Dudas, 511 F. Supp. 2d 652, 659 (E.D. Va. 2007). The aid of amici curiae has “been allowed at

the trial level where they provide helpful analysis of the law, they have a special interest in the

subject matter of the suit, or existing counsel is in need of assistance.” Id. (quoting Bryant v. Better

Bus. Bureau of Greater Md., Inc., 923 F. Supp. 720, 728 (D. Md. 1996)).

       The ACLJ’s Motion for Leave to File an Amicus Brief is timely. This Court’s February 6

Minute Order required Defendants to file their opposition to the Plaintiffs’ motion for a

preliminary injunction on or before February 15, 2025. The ACLJ has filed its motion for leave

prior to the deadline for the brief of the party it supports, the Defendants.

       Amicus briefs are permitted in district court cases where the amicus possesses “a special

interest in the subject matter of the suit.” Bryan, 923 F. Supp. At 728. Courts have emphasized that
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allowing parties to appear as amicus curiae “may be advisable where third parties can contribute

to the court’s understanding” of the issues in a case. Id.; see Harris v. Pernsley, 820 F.2d 592, 603

(3d Cir. 1987).

       Proposed amicus the ACLJ has “a special interest in the subject matter of the suit.” Tafas,

511 F. Supp. at 659. The ACLJ is an organization dedicated to the defense of constitutional

liberties secured by law, the right to life, and legal principles like separation of powers. Counsel

for the ACLJ have presented oral argument, represented parties, and submitted amicus curiae briefs

before the Supreme Court of the United States and numerous state and federal courts in cases

involving a variety of issues relating to the structure of government. ACLJ attorneys have appeared

often before the Supreme Court as counsel for parties, e.g., Colorado Republican State Central

Committee v. Anderson, U.S. No. 23-696 (2023); Trump v. Vance, 591 U.S. 786 (2020);

Trump v. Mazars USA, LLP, 591 U.S. 848 (2020); McConnell v. FEC, 540 U.S. 93 (2003); or as

amici, e.g., Trump v. United States, 603 U.S. 593 (2024); Fischer v. United States, 144 S. Ct. 2176

(2024); McDonnell v. United States, 579 U.S. 550 (2016); and Bush v. Gore, 531 U.S. 98 (2000).

The ACLJ has a fundamental interest in maintaining the integrity of the founders’ constitutional

design, and here, supporting the separation of powers and the authority of the President to

administer the executive branch and execute the laws of the United States. “The principle of

separation of powers was not simply an abstract generalization in the minds of the Framers: it was

woven into the document that they drafted in Philadelphia in the summer of 1787.” Buckley v.

Valeo, 424 U.S. 1, 124 (1976).

       Further, the ACLJ is committed to supporting the sanctity of human life. The ACLJ files

this amicus brief in particular support of President Trump’s January 24, 2025, executive order

entitled Enforcing the Hyde Amendment, Exec. Order 14182, 90 Fed. Reg. 8751 (Jan. 24, 2025).
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This executive order requires the government “to end the forced use of taxpayer dollars to fund or

promote elective abortion.” Id. The enforcement of this executive order, along with all others that

may affect the implementation of funding, is at issue in this litigation. The ACLJ files this brief to

support the enforcement of that executive order and President Trump’s commitment to end federal

funding for abortion.

       For the foregoing reasons, amicus respectfully asks this Court to grant leave to file an

amicus curiae brief in opposition to the Plaintiffs’ Motion for a Preliminary Injunction.

Dated: February 14, 2025                             Respectfully Submitted,


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                                                        /s/ Benjamin P. Sisney
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                              CERTIFICATE OF CONFERRAL

       I hereby certify that Counsel for the Amicus has conferred with the parties about the relief

sought in this motion. The Defendants have indicated that they consent to this motion. The

Plaintiffs have indicated that they consent to this motion.

Dated: February 14, 2025

/s/ Benjamin P. Sisney
Benjamin P. Sisney
Counsel for Amicus Curiae




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on February 14, 2025, I electronically filed a copy of the foregoing

Motion for Leave to File an Amicus Curiae Brief using the ECF System which will send

notification of that filing to all counsel of record in this litigation.

Dated: February 14, 2025

/s/ Benjamin P. Sisney
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Counsel for Amicus Curiae




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